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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 STRIKE 3 HOLDINGS, LLC,                     Civil Case No. 0:18-cv-00773-JRT-DTS

       Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 24.7.203.5,

       Defendant.

 [PROPOSED] ORDER ON PLAINTIFF’S SECOND EX-PARTE APPLICATION
  FOR EXTENSION OF TIME WITHIN WHICH TO EFFECTUATE SERVICE
                   ON JOHN DOE DEFENDANT
      THIS CAUSE came before the Court upon Plaintiff’s second ex-parte application
for entry of an Order extending the time within which to effectuate service on John Doe
Defendant with a summons and Complaint, and the Court being duly advised in the
premises does hereby:

      ORDER AND ADJUDGE: Plaintiff’s application is granted. Plaintiff shall have
until October 17, 2018 to effectuate service of a summons and Complaint on Defendant.

      SO ORDERED this ______ day of _______________________, 2018.



                                        By:_______________________________
                                        The Honorable David T. Schultz
                                        United States Magistrate Judge
